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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                       Criminal No. 21-cr-109 (WMW/HB)

 UNITED STATES OF AMERICA,

                     Plaintiff,

       v.                               NOTICE

 DEREK MICHAEL CHAUVIN,

                     Defendant.


      Please remove the following former Acting United States Attorney to the above-

captioned case:

      Remove AUSA: W. Anders Folk


Dated: December 6, 2021                 Respectfully submitted,


 CHARLES J. KOVATS, JR.                   KRISTEN CLARKE
 Acting United States Attorney            Assistant Attorney General
                                          Civil Rights Division
 /s/ LeeAnn K. Bell
 BY: LeeAnn K. Bell                       /s/ Samantha Trepel
 Assistant United States Attorney         BY: SAMANTHA TREPEL
 Attorney ID No. 0318334                  Special Litigation Counsel
                                          Attorney ID No. 992377 DC
